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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:11CR125
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )
                                               )            TENTATIVE FINDINGS
BEATRIZ LOPEZ-MARISCAL,                        )
                                               )
               Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

government adopted the PSR. (Filing No. 119.) The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

       The Defendant's motion for downward departure/variance (Filing No. 121) will be

heard at sentencing. The Defendant filed a witness list indicating she expects to call a

witness at sentencing. However, because the defense has not complied with ¶ 6(d) of the

Order on Sentencing Schedule with respect to a request to present oral testimony, the

witness's testimony will not be heard.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
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submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing;

      5.     The Defendant's motion for downward departure/variance (Filing No. 121) will

be heard at sentencing; and

      6.     The testimony of the witness identified in Filing No. 123 will not be heard.

      DATED this 23rd day of February, 2012.

                                          BY THE COURT:

                                          s/ Laurie Smith Camp
                                          Chief United States District Judge




                                               2
